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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

ARTURO AGUIRRE CRUZ et al.,
Plaintiffs,

vs. No. 04-2389 Ml[P

FORD MOTOR COMPANY,

Defendant.

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ORDER DENYING PLAINTIFFS’ MOTION TO AMEND COMPLAINT

 

Before the court is plaintiffs' Motion to Amend Complaint,
filed August 2, 2005 (dkt #35). The defendant filed its response
in opposition on August 8, 2005. For the reasons below, the motion
j.S DENIED .

The plaintiffs filed their original complaint on May 24, 2004.
On August 5, 2004, the parties appeared before the court for a
scheduling conference pursuant to Fed. R. Civ. P. l6(b). At the
conclusion of that conference, the court entered a scheduling order
setting forth the deadlines discussed.at the scheduling conference.
In particular, the deadline for the plaintiffs to amend their
pleadings was February 28, 2005. The order further provided that
“[t]his order has been. entered after consultation. with trial

counsel pursuant to notice. Absent good cause shown, the

  

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with Rule 55 and/or 79(3) FRCP on C

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scheduling dates set by this order will not be modified or
extended.”

On April 7, 2005, the parties filed a joint motion to amend
the scheduling order. The District Judge granted that motion on
April 27, 2005, and, extended. deadlines for the completion of
discoveryg expert disclosures, and, filing dispositive motions.
There was no mention. of extending deadlines for amending the
pleadings. The court also reset the trial date to February 13,
2006. On July 28, 2005, the parties filed a consent motion to
amend the scheduling order, which was granted by the District
Judge. This consent order extended. the deadlines for expert
disclosures. Again, there was no mention of extending deadlines
for amending the pleadings.

On July 18, 2005, the plaintiffs filed their motion to amend
complaint. However, the motion did not include a Certificate of
Consultation as required by the court’s Local Rules, and was denied
without prejudice on that basis. Subsequently, on August 2, the
plaintiffs renewed their motion to amend complaint, and attached
the required Certificate. In the motion, the plaintiffs state that
“[t]his motion is made early in this action, before the expiration
of any court imposed deadlines for filing motions.”

This statement is incorrect. The deadline for amending
pleadings for the plaintiffs expired on February 28, 2005.

Although the court, at the parties' request, has amended the

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scheduling order on two occasions since the scheduling order was
originally entered, neither of these modifications to the
scheduling order extended the February 28 deadline for amending
pleadings. Thus, the present motion to amend was filed
approximately 140 days after this deadline expired.

Based, upon the entire record, the court finds that the
plaintiffs have not shown good cause to extend the February 28
deadline for amending plaintiffs' complaint, and therefore,
plaintiffs’ untimely motion to amend is denied. See Lower v.
Albert, 187 F.3d 636, 1999 WL 551414, at *3-4 {Gth Cir. July 20,
1999}(unpublished}. As explained by the court in ng§;,

The plaintiffs argue that the district court abused
its discretion in rejecting their second amended
complaint, which was offered to cure the deficiencies
identified in the amended complaint. The district court
denied leave to amend, noting that the pleading amendment
deadline established under Rule 16 Fed. R. Civ. P., had
passed - and the plaintiffs had presented no good cause
for extending this deadline. The plaintiffs submit that
Rule 16 should not be used to circumvent Rule 15, which
provides that leave to amend should be freely given. We
are not persuaded that Rule 15 was circumvented here,
however.

Rule 16(b}(l), Fed. R. Civ. P., states that the
district court “shall . . . enter a scheduling order that
limits the time . . . to amend the pleadings . . ”
Once such a schedule is in place, it may only be modified
by a showing of good cause The proviso in Rule 15(a )
that “leave [to amend] shall be freely given when justice
so requires" presupposes that the moving party has
complied with any Rule 16 deadline. §__ Sosa v. Airprint
Sys.c Inc.l 133 F.3d 1417 (llth_ Cir. 1998) (“If we
considered only Rule 15(a) without regard to Rule 16(b),
we would render scheduling orders meaningless and
effectively would read Rule 16(b) and its good cause
requirement out of the Federal Rules of Civil

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Procedure”). Rule 16, in other words, prescribes the

time by which any n©tion for leave to amend must be

filed; Rule 15 provides guidance to the courts on

deciding the merits of timely motions.

Because the plaintiffs missed the Rule 16 deadline

for amending the pleadings, we need not consider whether

an amendment would otherwise have been proper under Rule

15.
Id. at *3-4. As best as the court can tell, the only arguable
reference to the good cause standard in plaintiffs' motion is found
in their statement that “[t]he nature of the relationship between
the defendants required discovery, investigation and legal research
to determine the full extent of the claims Plaintiff’s [sic] have
against defendants.” However, this statement merely reflects the
fact that the plaintiffs had to engage in discovery, which is true
in every case. This does not satisfy the good cause requirement.

Finally, the plaintiffs have not explained what portions of
their original complaint they seek to amend,l and other than
stating generally that “[i]n the absence of these Claims complete
relief cannot be awarded to the Plaintiffs,” they have not

explained why the proposed amendment is warranted.

For these reasons, the motion is DENIED.

 

lThe motion only states that “[t]he additional claims
Plaintiff’s [sic] have against the defendants are set forth in
the proposed amended complaint for damages attached hereto” and
that “[t]he interests of justice require that the Plaintiff's
[sic] be allowed to amend their Complaint to more specifically
put defendants on notice of all claims."

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T`G M. PHAM
United States Magistrate Judge

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Date U

IT IS SO ORDERED.

 

 

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This notice confirms a copy of the document docketed as number 42 in
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